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(801) 261~1458

 

lN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DlVlSION

 

UNlTED STATES OF A|\/|ER|CA, ANSWER
P|aintiff,

VS.

Case No. 2114-CV00085-DB
RULON SANDO\/AL, et. a|;

Judge Dee Benson
Defendants,

 

 

Defendants Rulon Sandoval; Andrea R. Acosta Hernandez; and Latinos Office, LLC7 by
and through their counsel, Shawn D. Turner hereby answer the Coniplaint of the Plaintiff as
follows:

FIRST DEFENSE
Plaintifl" s Cornplaint fails to state a cause of action against these Defendants upon Which

relief can be granted

SEC()ND DEFENSE
These Defendants Answer the individually numbered paragraphs of Plaintii`F s Cornplaint

as follows:

 

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. Defendants are without knowledge of the truth or falsity of this allegation, including its

subparts, and therefore deny the same

Defendants are without knowledge of the truth or falsity of this allegation and therefore

deny the saine.

. Admit

Admit venue is proper in this Court but deny the remainder of the allegations

. Adrnit

Admit Andrea R. Acosta Hernandez (“Acosta”) is the wife of Rulon Sandoval, that she
has engaged in tax preparation activities and was at all relevant times a resident of Utah
residing within this judicial district, but deny the remainder of the allegations

Deny '

Deny

Deny

Deny

Defendants are without knowledge of the truth or falsity of this allegation and therefore
deny the same

Deny

, Deny

Deny

Deny

Defendants cannot tell who the alleged taxpayer was based on the information given. The
allegation is therefore too vague to allow an adequate response and Defendants

accordingly deny the same.

 

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Defendants cannot tell who the alleged taxpayer was based on the information given. The
allegation is therefore too vague to allow an adequate response and Defendants
accordingly deny the same.

Defendants cannot tell who the alleged taxpayer was based on the information given. The
allegation is therefore too vague to allow an adequate response and Defendants
accordingly deny the same.

Defendants cannot tell Who the alleged taxpayer was based on the information given. The
allegation is therefore too vague to allow an adequate response and Defendants
accordingly deny the same.

Defendants cannot tell who the alleged taxpayer was based on the information given. The
allegation is therefore too vague to allow an adequate response and Defendants

accordingly deny the same.

. Defendants hereby incorporate their responses to the allegations contained in paragraphs

1~20 as though set forth fully herein.

Defendants object to this purported allegation on the basis it is not an allegation, but
rather Plaintiff s interpretation of the law.

Deny

Deny

. Defendants hereby incorporate their responses to the allegations contained in paragraphs

l-25 as though set forth fully herein.
Defendants object to this purported allegation on the basis it is not an allegation, but
rather Plaintiff’ S interpretation of the law,

Defendants object to this purported allegation on the basis it is not an allegation, but

 

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rather Plaintiff’ s interpretation of the law.

. Defendants object to this purported allegation on the basis it is not an allegation, but

rather Plaintiff’ s interpretation of the law.
Deny
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Deny
These Defendants affirmatively deny each and every allegation not specifically admitted
above.
THIRD DEFENSE

Plaintiff’ s claims are barred all or in part because the complained of action were

performed by third parties without knowledge of these Defendants

These Defendants reserve the right to amend this Answer to add additional defenses as

they become known.

DATED this 10th day or March 2014.

 

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CERTIFICATE ()F MAILING

1 hereby certify that a true and correct copy of the foregoing Answer was served via the
Court’s Electronic Notification System, on the 10th day of March 2014 to the following:

David B. Barlow

United States Attorney

John K. Manguin

Assistant United States Attorney
U.S. Attorney’s foice

185 South State Street, Suite 300
Salt Lake City, Utah 84111

Aaron l\/[. Bailey

Trial Attorney, Tax Division
U.S. Dept. of Justice

P.O. Box 683

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